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 1   Aaron D. Aftergood (239853)
       aaron@aftergoodesq.com
 2   THE AFTERGOOD LAW FIRM
     1880 Century Park East, Suite 200
 3   Los Angeles, CA 90067
     Telephone: (310) 550-5221
 4   Facsimile: (310) 496-2840
 5   Taylor T. Smith (admitted pro hac vice)
       tsmith@woodrowpeluso.com
 6   WOODROW & PELUSO, LLC
     3900 East Mexico Avenue, Suite 300
 7   Denver, Colorado 80210
     Telephone: (720) 213-0675
 8   Facsimile: (303) 927-0809
 9   Attorneys for Plaintiff and the Classes
10
                           UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12
                                WESTERN DIVISION

13   Bryce Abbink, individually and on
14   behalf of all others similarly situated,             Case No. 8:19-cv-01257-JFW-PJWx

15                                 Plaintiff,                PLAINTIFF’S REQUEST FOR
16
                                                             ENTRY OF DEFAULT AGAINST
     v.                                                      UNIFIED DOCUMENT
17                                                           SERVICES, LLC
18   Experian Information Solutions, Inc.,
     an Ohio corporation, Lend Tech                          Hon. John F. Walter
19   Loans, Inc., a California corporation,
20   and Unified Document Services, LLC,                     Complaint Filed: June 21, 2019
                                                             Pretrial Conf.: June 12, 2020
     a California Limited Liability
21                                                           Trial Date: June 23, 2020
     Company,
22                              Defendants.
23
           Plaintiff Bryce Abbink (Plaintiff” or “Abbink”) hereby respectfully moves to
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     have this Court enter default against Defendant Unified Document Services, LLC
25
     (“Defendant” or “UDS”). Entry of Default is proposed against UDS because it has
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     failed to answer or otherwise respond to Plaintiff’s Class Action Complaint.
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28
                   Plaintiff Request for Entry of Default Against Unified Document Services, LLC
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 1   Defendant UDS was served on September 26, 2019 (dkt. 44) and to date has not
 2   responded.
 3         The Affidavit of Default, attached hereto as Exhibit A, further supports this
 4   request.
 5
 6                                                 Respectfully submitted,
 7
 8
     Dated: December 16, 2019                      Bryce Abbink, individually and on behalf of
                                                   all others similarly situated,
 9
10                                         By:      /s/ Taylor T. Smith
                                                   One of Plaintiff’s Attorneys
11
12                                                 Aaron D. Aftergood (239853)
                                                     aaron@aftergoodesq.com
13                                                 THE AFTERGOOD LAW FIRM
                                                   1880 Century Park East, Suite 200
14                                                 Los Angeles, CA 90067
                                                   Telephone: (310) 550-5221
15                                                 Facsimile: (310) 496-2840

16                                                 Taylor T. Smith (admitted pro hac vice)
                                                     tsmith@woodrowpeluso.com
17                                                 WOODROW & PELUSO, LLC
                                                   3900 East Mexico Avenue, Suite 300
18                                                 Denver, Colorado 80210
                                                   Telephone: (720) 213-0675
19                                                 Facsimile: (303) 927-0809

20                                                 Attorneys for Plaintiff and the Classes

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                  Plaintiff Request for Entry of Default Against Unified Document Services, LLC
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 1                               CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above
 3   titled document was served upon counsel of record by filing such papers via the
 4   Court’s ECF system on December 16, 2019.
 5                                                 /s/ Taylor T. Smith
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                  Plaintiff Request for Entry of Default Against Unified Document Services, LLC
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